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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                      IN THE UNITED STATES DISTRICT COURT                                August 23, 2019
                      FOR THE SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                                HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al.,                  §
on behalf of themselves and all others          §
similarly situated,                             §
                                                §
                      Plaintiffs,               §
                                                §
VS.                                             §            CIVIL ACTION NO. H-16-1414
                                                §
HARRIS COUNTY, TEXAS, et al.,                   §
                                                §
                      Defendants.               §

                                            ORDER

       If the parties moving for preliminary approval wish to file a response to the objections that

have been filed, they may do so if the response is filed with the court by 5:00 p.m. Central Time

on Sunday, August 25, 2019.

                      SIGNED on August 23, 2019, at Houston, Texas.


                                             _______________________________________
                                                                Lee H. Rosenthal
                                                         Chief United States District Judge
